






						NO. 12-07-00231-CV



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


JIM H. HAMILTON, JR.,§
		APPEAL FROM THE THIRD

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


RAYMOND E. THOMPSON, STEVEN R. 

SWIFT, DARRELL W. DEEL, JOEL F.

BARBOSA, WAYNE E. WHITTEN,

DAVID W. GREEN, BELINDA F. RASH, §
		ANDERSON COUNTY, TEXAS

WILLIAM E. RASH, BENNIE J.

COLEMAN, JR., T. RODDEY, 

AND ED OWENS,

APPELLEES


                                                                                                                                                            

MEMORANDUM OPINION


	Jim H. Hamilton, Jr., an inmate in the Texas Department of Criminal Justice - Institutional
Division ("TDCJ"), proceeding pro se, filed an informa pauperis suit against eleven employees of
TDCJ.  Hamilton appeals the trial court's order dismissing his suit pursuant to Texas Civil Practices
and Remedies Code, section 14.005. In three issues, Hamilton argues that the trial court erred by
failing to hold a hearing on his motion for reconsideration, dismissing his lawsuit, and assessing
court costs against him.  We affirm.


Background

	Hamilton is an inmate previously housed in the Coffield Unit of TDCJ.  On April 2, 2007,
Hamilton, proceeding pro se and in forma pauperis, filed a suit against Appellees Raymond E.
Thompson, Steven R. Swift, Darrell W. Deel, Joel F. Barbosa, Wayne E. Whitten, David W. Green,
Belinda F. Rash, William E. Rash, Bennie J. Coleman, Jr., T. Roddey, and Ed Owens.  Hamilton
alleges that all appellees are employees of TDCJ.  In his petition, Hamilton sought a declaratory
judgment as well as a preliminary and permanent injunction due to alleged violations in bringing and
investigating a disciplinary complaint against him.

	On May 15, 2007, the trial court dismissed Hamilton's suit without prejudice because he
failed to file the claim before the thirty-first day after receiving the written decision from the
grievance system as required under section 14.005 of the Texas Civil Practices and Remedies Code. 
Hamilton filed a motion for new trial, entitled "motion for reconsideration," that was overruled by
operation of law.  This appeal followed.


Dismissal of Suit under Chapter 14


	In his second issue, Hamilton argues that the trial court erred in dismissing his suit.  Chapter
14 of the Texas Civil Practice and Remedies Code applies to a lawsuit brought by an inmate who
has filed an affidavit or unsworn declaration of inability to pay costs and imposes several procedural
requirements that must be met before such a lawsuit may proceed.  Tex. Civ. Prac. &amp; Rem. Code
Ann. §§ 14.002-.006 (Vernon 2002).  An inmate's suit may be dismissed if it fails to meet the
procedural requirements imposed by Chapter 14.  Thompson v. Rodriguez, 99 S.W.3d 328, 330
(Tex. App.-Texarkana 2003, no pet.). Specifically, a court shall dismiss a claim if the inmate fails
to file a claim before the thirty-first day after the date the inmate receives the written decision from
the grievance system.   Tex. Civ. Prac. &amp; Rem. Code Ann. § 14.005(b) (Vernon 2002). 

	We review a trial court's dismissal of an inmate's in forma pauperis suit under an abuse of
discretion standard.  Hickson v. Moya, 926 S.W.2d 397, 398 (Tex. App.-Waco 1996, no pet.).  A
trial court abuses its discretion if it acts arbitrarily, capriciously, and without reference to any guiding
rules or principles.  Lentworth v. Trahan, 981 S.W.2d 720, 722 (Tex. App.-Houston [1st Dist.]
1998, no pet.).  We will affirm a dismissal if it was proper under any legal theory.  Johnson v.
Lynaugh, 796 S.W.2d 705, 706-07 (Tex. 1990); Birdo v. Ament, 814 S.W.2d 808, 810 (Tex.
App.-Waco 1991, writ denied).  Even where a trial court gives an incorrect legal reason for its
decision, the trial court's assignment of a wrong reason is not automatically reversible error.  Sells
v. Drott, No. 12-07-00020-CV, 2007 Tex. App. LEXIS 5608, at *3 (Tex. App.-Tyler July 18, 2007,
pet. filed) (mem. op.) (citing Luxenberg v. Marshall, 835 S.W.2d 136, 141-42 (Tex. App.-Dallas
1992, no writ)).  A trial court does not abuse its discretion if it reaches the right result, even where
that result is based upon an incorrect legal reason.  Id.  Therefore, when a trial court gives an
incorrect legal reason for its decision, we will nevertheless uphold that decision on any proper
grounds supported by the record.  Id.; Archer v. Tex. Dep't of Crim. Justice-Institutional Div., No.
12-07-00012-CV, 2008 Tex. App. LEXIS 2691, at *6 (Tex. App.-Tyler Apr. 16, 2008, no
pet.)(mem. op.).  Trial courts are given broad discretion to determine whether an inmate's in forma
pauperis suit should be dismissed because (1) prisoners have a strong incentive to litigate; (2) the
government bears the costs of an in forma pauperis suit; (3) sanctions are not effective; and (4) the
dismissal of unmeritorious claims accrues to the benefit of state officials, courts, and meritorious
claimants.  Montana v. Patterson, 894 S.W.2d 812, 814-15 (Tex. App.-Tyler 1994, no writ).  

	Here, the trial court dismissed Hamilton's suit because it concluded the claim was not filed
before the thirty-first day after receiving a written decision from the grievance system as required
under section 14.005(b).  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 14.005(b).  However,
Hamilton's affidavit attached to his petition stated that he received the written decision from the
grievance system on February 28, 2007.  He then mailed his petition, according to his verification,
on March 26, 2007, and it was filed on April 2, 2007.  It appears that when the trial court determined
that Hamilton failed to file his claim before the thirty-first day, it utilized the date of February 6,
2007,  the date that the decision was made by the grievance system, as the beginning of the thirty-one
day time period.  But there is no indication that Hamilton received a copy of the decision from the
grievance system on February 6, 2007. 

	Nonetheless, Hamilton, as an inmate proceeding in forma pauperis, must comply with all the
requirements of Chapter 14.  Specifically, section 14.004(a) of the Texas Civil Practices and
Remedies Code provides that an inmate must file an affidavit of declaration identifying each suit,
other than a suit under the Family Code, previously brought by the person and in which the person
was not represented by an attorney, without regard to whether the person was an inmate at the time
the suit was brought.  Tex. Civ. Prac. &amp; Rem. Code Ann. § 14.004(a)(1) (Vernon 2002).  Further,
the inmate must describe each suit that was previously brought by stating the operative facts for
which relief was sought, listing the case name, cause number, and the court in which the suit was
brought, identifying each party named in the suit, and stating the result of the suit.  Tex. Civ. Prac.
&amp; Rem. Code Ann. § 14.004(a)(2).  Although Hamilton listed two previous cases in his affidavit,
he did not state the operative facts for which relief was sought in either case.  Thus, Hamilton failed
to comply with section 14.004(a)(2) and the trial court properly dismissed his suit.  See Archer, 2008
Tex. App. LEXIS 2691, at *6; Sells, 2007 Tex. App. LEXIS 5608, at *3.  Hamilton's second issue
is overruled.


Hearing on Motion for Reconsideration


	In his first issue, Hamilton alleges that the trial court erred by not holding a hearing on his
motion for reconsideration.  A trial court need not hold a hearing on a motion for reconsideration or
new trial unless the motion presents questions of material fact upon which evidence must be
developed and heard.  See Estate of Pollack v. McMurrey, 858 S.W.2d 388, 392 (Tex. 1993).  Here,
Hamilton asserted in his motion for reconsideration that his claim was timely filed and that his
affidavit of declaration describing his prior lawsuits was sufficient under section 14.004(a)(2). (1) 
These matters could be determined from the record without the development of evidence.  Therefore,
the trial court did not err in failing to hold a hearing on Hamilton's motion for reconsideration. See
id.  Hamilton's first issue is overruled.


Court Costs


	In his third issue, Hamilton argues that the trial court erred in ordering him to pay court costs
when his suit was not dismissed as frivolous or malicious.  Further, he contends that the imposition
of such court costs violates his equal protection rights.  Section 14.006 of the Texas Civil Practices
and Remedies Code provides that a court may order an inmate who has filed a claim to pay court
fees, court costs, and other costs. Tex. Civ. Prac. &amp; Rem. Code Ann. § 14.006(a) (Vernon 2002). 
According to the clear language of the statute, the trial court was authorized to assess court costs
against Hamilton even though his claim was not dismissed as frivolous or malicious.  We note that
the trial court's order also follows subsections (b) and (c) of section 14.006 in ordering the amount
of court costs and fees to be paid by Hamilton.  Therefore, the trial court did not abuse its discretion
in ordering Hamilton to pay court costs. See Thomas v. Knight, 52 S.W.3d 292, 296 (Tex.
App.-Corpus Christi 2001, pet denied).

	Hamilton also contends that the imposition of court costs against him violates his equal
protection rights because his suit was not frivolous and none of the appellees suffered any monetary
losses as they had not yet participated in any court proceedings.  Hamilton admits that he did not
make an equal protection argument to the trial court.  A constitutional claim must have been asserted
in the trial court in order to be raised on appeal.  Dreyer v. Greene, 871 S.W.2d 697, 698 (Tex.
1993).  Because Hamilton did not raise his equal protection claim with the trial court, he has waived
this argument.

	Even had he not waived his equal protection argument, Hamilton would not prevail. To assert
an equal protection claim, Hamilton must establish that he was treated differently than other
similarly situated parties and that he was treated differently without a reasonable basis.  Sanders v.
Palunsky, 36 S.W.3d 222, 225 (Tex. App.-Houston [14th Dist.] 2001, no pet.).  The procedural
requirements of Chapter 14 apply equally to all inmate suits in forma pauperis. See Tex. Civ. Prac.
&amp; Rem. Code Ann. §§ 14.002-.006; Sanders, 36 S.W.3d at 225.  The record does not indicate nor
has Hamilton shown that he was treated differently than any other indigent Texas inmate.  Further,
no court has recognized inmates as a suspect class or recognized the right to file successive civil suits
as a fundamental right.  Sanders, 36 S.W.3d at 225. Because Chapter 14 neither singles out
individuals of a suspect class nor implicates a fundamental right, it must only be rationally related
to a legitimate state interest to survive an equal protection challenge. Id.  Chapter 14 was "designed
to control the flood of frivolous lawsuits being filed in the courts of this State by prison inmates,
consuming valuable judicial resources with little offsetting benefit."  Hickson, 926 S.W.2d at 399.
Prohibiting inmates with a history of instituting frivolous and malicious litigation from proceeding
in forma pauperis clearly serves to deter such abuses of our judicial system.  See Sanders, 36 S.W.3d
at 226. Because Hamilton did not establish that he was treated differently than other indigent inmates
and the State had a legitimate state interest in instituting Chapter 14, Hamilton's equal protection
challenge is without merit. 

	Hamilton's third issue is overruled.



Disposition


	Having overruled Hamilton's first, second, and third issues, we affirm the trial court's order
of dismissal.



								    BRIAN HOYLE   

									   Justice




Opinion delivered June 30, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.














(PUBLISH)
1.  Hamilton addressed the affidavit in his motion for reconsideration because the trial court's docket sheet
includes a notation that Hamilton "also failed to include affidavit re previous filings as set forth in § 14.004(a)[.]"


